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                    EXHIBIT 1
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                                           EXHIBIT A

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

QUEST DIAGNOSTICS INVESTMENTS LLC,

                      Plaintiff,

               v.                                      C.A. No. 1:18-cv-01436-MN

LABORATORY CORPORATION OF
AMERICA HOLDINGS, ESOTERIX, INC., and
ENDOCRINE SCIENCES, INC.,

                      Defendants.


              DECLARATION AND CONFIDENTIALITY UNDERTAKING

       I certify that I have received and carefully read the Stipulated Protective Order in this

action and that I fully understand the terms of the Order. I recognize that I am bound by the

terms of that Order, and I agree to comply with those terms. I hereby consent to the personal

jurisdiction of the United States District Court, District of Delaware, for any proceedings

involving the enforcement of that Order. I declare under penalty of perjury under the laws of the

United States of America this Declaration and Confidentiality Undertaking is true and correct.


EXECUTED this       18th day of     July                          2019


                                               John E. Peterson
                                            Name



                                            Sigire
                                                 tu(4'1


                                                Laboratory Corporation of America Holdings
                                            Present Employer or Other Business Affiliation
